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     Federal Defender
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     timothy_zindel@fd.org
5
6    Attorney for Defendant
     PAMELA STEPHANIE EMANUEL
7
8
9                     IN THE UNITED STATES DISTRICT COURT
10                   FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,       ) Case No. 2:17-CR-0060 MCE
                                      )
13         Plaintiff,                 )
                                      ) STIPULATION AND ORDER RE
14                          vs.       ) TEMPORARY RELEASE TO ATTEND
                                      ) MEMORIAL
15    PAMELA STEPHANIE EMANUEL,       )
                                      )
16         Defendant.                 ) Judge: Hon. Kendall J. Newman
                                      )
17                                    )
                                      )
18
19         It is hereby stipulated and agreed between plaintiff,
20
     United States of America, and defendant, Pamela Stephanie
21
     Emanuel, through their attorneys, that Ms. Emanuel may be
22
     temporarily released from custody as set forth below to attend
23
24   the funeral service and family gathering for her mother, Selma

25   Barnes, in the third-party custody of her sister, Vickie

26   Johnson, in Richmond, California.
27         On January 23, 2019, Magistrate Judge Brennan issued an
28
     order temporarily releasing Ms. Emanuel from the jail in order
                                          -1-
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1    to visit her mother in the hospital on January 24.           Ms. Emanuel
2    visited as permitted and surrendered to the jail as ordered.
3
     Her mother died two days later.        Ms. Emanuel’s sister, Ms.
4
     Johnson of Stockton, who escorted Ms. Emanuel on January 24, is
5
     again willing to escort Ms. Emanuel from Sacramento County Jail
6
7    to Richmond to attend the memorial and committal services for

8    her mother and the family repast.          (Defense counsel has provided

9    existing details about the service to counsel for the government
10   and will provide any additional details as requested.)              Ms.
11
     Emanuel asks to be released Thursday, February 6, 2019, between
12
     the hours of 8:00 a.m. and 8:00 p.m., to allow sufficient time
13
     to travel.
14
15           The parties therefore agree that the Court may order Ms.

16   Emanuel temporarily released at 8:00 a.m. on Thursday, February

17   6, 2019, with instructions that she return to the jail by 8:00
18   p.m. the same day.     The Court shall direct the Marshal to
19
     coordinate Ms. Emanuel’s release and surrender with the jail as
20
     they see fit.
21
     /////
22
     /////
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24   /////

25   /////
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     /////
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1            Ms. Emanuel shall sign the attached Notice to Defendant
2    Being Released (modified to fit the conditions of this temporary
3
     release) which defense counsel will submit to the Courtroom
4
     Deputy for filing prior to Ms. Emanuel’s release.
5
                                        Respectfully Submitted,
6
7                                       HEATHER E. WILLIAMS
                                        Federal Defender
8
     Dated:    January 30, 2019         /s/ T. Zindel
9                                       TIMOTHY ZINDEL
                                        Assistant Federal Defender
10                                      Attorney for PAMELA EMANUEL
11
                                        McGREGOR SCOTT
12                                      United States Attorney

13
     Dated:    January 30, 2019         /s/ T. Zindel for G. Rabenn
14                                      GRANT RABENN
                                        Assistant U.S. Attorney
15
16   /////

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     /////
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1                                     O R D E R
2
3
           Pamela Emanuel is ordered temporarily released from custody
4
     at 8:00 a.m. on Thursday, February 6, 2019, and is further
5
     ordered to surrender herself to the Sacramento County Jail by
6
7    8:00 p.m. that day.     The Marshal is directed to make necessary

8    arrangements with Sacramento County for Ms. Emanuel’s timely

9    release and surrender.      Ms. Emanuel shall sign the attached
10   notice to defendant being released.        All conditions set forth in
11
     that notice are hereby ordered.
12
           IT IS SO ORDERED.
13
     Dated:   January 30, 2019
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